Case 1:12-cv-03320-RPM Document 106 Filed 04/22/14 USDC Colorado Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Senior District Judge Richard P. Matsch

Date:               April 22, 2014
Courtroom Deputy:   J. Chris Smith
FTR Technician:     Kathy Terasaki
____________________________________________________________________________________

Civil Action No. 12-cv-03320-RPM

JACQUES BOURRET,                                                         Frances A. Koncilja
                                                                         Richard P. Yetter
        Plaintiff,
v.

ASPECT MANAGEMENT CORP.,                                                 Peter G. Koclanes
ASPECT HOLDINGS, LLC,                                                    Gordon W. Netzorg
ASPECT ENERGY, LLC, and
ASPECT ENERGY INT.L, LLC,

       Defendants.
____________________________________________________________________________________

                               COURTROOM MINUTES
____________________________________________________________________________________

Hearing on Pending Motions

1:55 p.m.        Court in session.

Court’s preliminary remarks and statements on the pending motions.

ORDERED:         Defendants’ Motion to Strike Jury Demand [86], is denied.

                 Plaintiff’s Motion for Leave to File Sur-Reply in Opposition to Defendants’ Motion
                 to Strike Jury Demand [95], is moot.

Mr. Yetter answers questions asked by the Court regarding plaintiff’s fraud claim.

Argument by Mr. Koclanes.
Argument by Mr. Yetter.
Rebuttal argument by Mr. Koclanes.

ORDERED:         Defendants’ Motion to Exclude Expert Testimony of Douglas Osterhus [92], is
                 granted.

                 Defendants’ Motion to Exclude Expert Testimony of Jeff Compton [93], is granted
                 in part and denied in part as stated on record (full scope of admissibility to be
                 determined after further briefing.
Case 1:12-cv-03320-RPM Document 106 Filed 04/22/14 USDC Colorado Page 2 of 2




April 22, 2014
12-cv-03320-RPM

                  Defendants’ Motion to Strike Designation of Plaintiff Jacques Bourret as a
                  Non-Retained Expert Witness [94], is granted in part as Mr. Bourret will not be
                  designated as an expert and denied with respect to all further testimony from
                  Mr. Bourret as to be ruled on during the course of taking his testimony.

Further argument by Mr. Koclanes.

ORDERED:          Plaintiff’s Motion to Dismiss [90], is granted in part, denied in part and withdrawn
                  (by counsel) in part as stated on record.

ORDERED:          Counsel shall file briefs on contract interpretation issues.
                  Defendants’ motion on fraud claim and “what is the project is due by May 2, 2014.
                  Plaintiff’s motion on “future cash flow” is due by May 2, 2014.
                  Parties responses due 10 days after filings of motions.

3:06 p.m.         Court in recess.

Hearing concluded. Total time: 1 hr. 11 min.




                                                    2
